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                         IN THE UNITED STATES DISTRICT COURT
                         OF THE DISTRICT COURT OF COLORADO

Civil Action Nos. 1:20-cv-01878-RBJ
ELISABETH EPPS, et al.
Plaintiffs,

v.

CITY AND COUNTY OF DENVER, et al.,

Defendants
____________________________________________________________________________

        STATUS REPORT REGARDING CLASS CERTIFICATION NOTICE
______________________________________________________________________________
        Now come Plaintiffs Claire Sannier and Kelsey Taylor, Class Representatives for the

Arrest Class, through their counsel, Class Counsel, and hereby provide this Status Report to the

Court on the notice that was mailed to potential class members and the status of opt-outs.

Plaintiffs report as follows:

        1.     On June 28, 2021, the Court certified the Arrest Class. Dkt. 127.

        2.     On July 22, 2021, the Court approved the parties’ proposed joint notice to class

members of the certification of the Arrest Class. Dkts. 133, 133-1.

        3.     The list of 313 potential class members is attached as Exhibit A (List of Class

Members) hereto.

        4.     On July 31, 2021, Class Counsel mailed via first class U.S. Mail the approved

notice to class members of the certification of the Arrest Class. Notice was mailed to all the class

members except for the two Class Representatives (Plaintiffs Kelsey Taylor and Claire Sannier),

who are aware of this lawsuit and the class certification order. See Exhibit B (Swift Decl.) ¶ 4. A

copy of the notice that was mailed is attached as Exhibit C. Id.



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       5.      Addresses for class members were obtained from a combination of sources,

including the arrest paperwork produced by the Defendant City and County of Denver and public

databases including Westlaw and LocatePlus. Exhibit B ¶ 5.

       6.      For class members who had more than one potential current address, Class

Counsel mailed notices to each address. See Exhibit B ¶ 6.

       7.      As of September 24, 2021, notices to 15 class members have been returned as

undeliverable, and no other potential address has been found for those class members. Exhibit B

¶ 7; see also Exhibit A.

       8.      The other class members received notice.

       9.      The notice mailed to class members indicated that their opt-out or exclusion

requests must be postmarked by September 13, 2021. Exhibit C at 1, 6.

       10.     To date, no opt-outs or exclusion request forms have been received. See Exhibit B

¶ 9.

                                            Respectfully submitted,

                                            /s/ Elizabeth Wang

Elizabeth Wang                              Makeba Rutahindurwa
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Counsel for Plaintiffs

                                     Certificate of Service

     I, Elizabeth Wang, an attorney, hereby certify that on September 24, 2021, I served via
CM/ECF the foregoing Status Report, on all counsel of record.

                                            /s/ Elizabeth Wang
                                            One of Plaintiffs’ Attorneys



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